     Case 2:18-cr-00422-DJH Document 1373-1 Filed 11/02/21 Page 1 of 1



 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                           No. CR-18-422-PHX-DJH
 9
                          Plaintiff,
10                                                                ORDER
              v.
11
12   Michael Lacey, et al.,
13                        Defendants.
14
15         Based on the United States’ Unopposed Motion to Extend Deadline for Responding
16   to Defendants’ Motion to Dismiss with Prejudice (Doc. 1355) (First Request), and good
17   cause appearing,
18         IT IS HEREBY ORDERED granting the United States’ motion and setting
19   November 17, 2021 as the United States’ deadline for responding to Defendants’ Motion
20   to Dismiss with Prejudice (Doc. 1355).
21         IT IS FURTHER ORDERED that excludable delay under 18 U.S.C. § 3161(h) is
22   found to commence from ___________________ through _____________________.
23
24
25
26
27
28
